      Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 1 of 10 PageID #:81




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 20 CR 299
               v.
                                                   Judge Robert M. Dow, Jr.
 HARDY LEE BROWNER

             Government’s Motion for Pretrial Conference
       Pursuant to the Classified Information Procedures Act and
               Memorandum of Law in Support Thereof

I.      Preliminary Statement

        The government respectfully submits this memorandum of law to

apprise the Court of the applicability of the Classified Information Procedures

Act, 18 U.S.C. App. 3 (“CIPA”), to matters relating to classified information

that may arise in connection with the prosecution, both before and during trial.

The government also submits this memorandum of law in support of its motion

for a pretrial conference, pursuant to Section 2 of CIPA, to consider such

matters.

II.     Background

        To assist the Court in this case, the government herein describes the

procedures mandated by CIPA for protecting classified information. CIPA “‘is

essentially a procedural tool’ for a court to address the relevance of classified

information before it may be introduced.” United States v. Abu Marzook, 412

F.Supp.2d 913, 917-18 (N.D. Ill. 2006) (quoting United States v. Dumeisi, 424
    Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 2 of 10 PageID #:82




F.3d 566, 578 (7th Cir. 2005)). The fundamental purpose of CIPA is “protecting

and restricting the discovery of classified information in a way that does not

impair the defendant’s right to a fair trial.” United States v. O’Hara, 301 F. 3d

563, 568 (7th Cir. 2002). “CIPA sets forth procedures for handling classified

information in criminal cases.” United States v. Tounisi, 2013 WL 5835770

(N.D.Ill. 10/30/2013) (citations omitted).

      A.    Pretrial Conferences, Protective Orders, and Discovery
            Under CIPA

            1.     Pretrial Conferences

      Section 2 of CIPA provides that “[a]t any time after the filing of the

indictment or information, any party may move for a pretrial conference to

consider matters relating to classified information that may arise in connection

with the prosecution.” 18 U.S.C. App. III § 2. After such a motion is filed, “or

on its own motion, the court shall promptly hold a pretrial conference to

establish the timing of requests for discovery, the provision of notice required

by Section 5 of [CIPA], and the initiation of the procedure established by

Section 6 of [CIPA].” Id. The pretrial conference may be held with the

government in camera and ex parte.




                                        2
   Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 3 of 10 PageID #:83




            2.    Protective Orders

      Section 3 of CIPA requires the Court, upon the request of the United

States, to “issue an order to protect against the disclosure of any classified

information disclosed by the United States to any defendant in any criminal

case . . . .” 18 U.S.C. App. III § 3. The key Senate Report on CIPA, issued by

the Senate Committee on the Judiciary, provides that the terms of a protective

order may include, but need not be limited to, provisions:

      (1) prohibiting the disclosure of the information except as
      authorized by the court; (2) requiring storage of material in a
      manner appropriate for the level of classification assigned to the
      documents to be disclosed: (3) requiring controlled access to the
      material during normal business hours and at other times upon
      reasonable notice; (4) requiring the maintenance of logs recording
      access by all persons authorized by the court to have access to the
      classified information in connection with the preparation of the
      defense; (5) requiring the making and handling of notes taken from
      material containing classified information; and (6) authorizing the
      assignment of government security personnel and the provision of
      government storage facilities.

S. Rep. No. 96-823 at 6, reprinted in 1980 U.S.C.C.A.N. 4294, 4299.

            3.    Discovery of Classified Information by the Defendant

      Although CIPA does not alter the government’s discovery obligations,

Section 4 of the Act sets forth a procedural mechanism to protect classified

information, including classified sources and methods, while protecting a

defendant’s due process rights. Pursuant to Section 4, the court, upon a

sufficient showing, may authorize the United States to:


                                       3
   Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 4 of 10 PageID #:84




      (1)   delete specified items of classified information from documents to
            be made available to the defendant through discovery under the
            Federal Rules of Criminal Procedure;

      (2)   substitute a summary of the information for such classified
            documents; or

      (3)   substitute a statement admitting the relevant facts that classified
            information would tend to prove.

      As with the procedures in Fed. R. Crim. P. 16(d)(1), Section 4 of CIPA

provides that the United States may demonstrate the need for such

alternatives through an in camera, ex parte submission to the Court. See

United States v. Rezaq, 134 F.3d 1121, 1142 (D.C. Cir. 1998); United States v.

Yunis, 867 F.2d 617, 622-23 (D.C. Cir. 1989); United States v. Sarkissian, 841

F.2d 959, 965 (9th Cir. 1988); United States v. Pringle, 751 F.2d 419, 427 (1st

Cir. 1984); Marzook, 435 F.Supp.2d. at 745. CIPA’s legislative history makes

clear that the Court may take national security interests into account in

determining whether to permit discovery to be denied, restricted, or deferred.

S. Rep. No. 96-823, at 6 (reprinted in 1980 U.S.C.C.A.N. 4294, 4299-4300);

United States v. Smith, 780 F.2d 1102, 1110 (4th Cir. 1985) (holding that

defendant’s right to discovery must be balanced against public’s interest in

non-disclosure); Pringle, 751 F.2d at 427.




                                       4
    Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 5 of 10 PageID #:85




       B.     Notice of Defendant’s Intent to Disclose and Pretrial
              Evidentiary Rulings

       The United States anticipates providing classified information to the

defense in this case. There are three critical pretrial steps in the handling of

such classified information should the defense reasonably expect to disclose or

cause the disclosure of classified information.

       First, pursuant to Section 5(a) of CIPA, defense counsel must specify the

precise classified information they reasonably expect to disclose or to cause the

disclosure of “in any manner in connection with any trial or pretrial

proceeding....” See, e.g., United States v. Wilson, 750 F.2d 7, 9 (2d Cir. 1984);

United States v. Collins, 720 F.2d 1195, 1199-1200 (11th Cir. 1983).

       Second, the Court, upon motion of the government, shall hold a hearing

pursuant to Section 6(a) to determine the use, relevance, and admissibility of

the proposed evidence. At the Section 6(a) hearing, the Court hears the defense

proffer and the arguments of counsel, then rules whether the classified

information identified by the defense is relevant under Rule 401 of the Federal

Rules of Evidence. 1 Smith, 780 F.2d at 1106; see generally Yunis, 867 F.2d at




       1       CIPA does not change the “generally applicable evidentiary rules of
admissibility.” Wilson, 750 F.2d at 9; accord Yunis, 867 F.2d at 623. Rather, CIPA alters the
timing of rulings concerning admissibility, so as to require them to be made before trial.
United States v. Poindexter, 698 F. Supp. 316, 318 (D.D.C. 1988); accord Smith, 780 F.2d at
1106.


                                             5
    Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 6 of 10 PageID #:86




622. The Court must also determine whether the evidence is cumulative,

“prejudicial, confusing, or misleading,” so that it should be excluded under Rule

403 of the Federal Rules of Evidence. See Wilson, 750 F.2d at 9. At the

conclusion of the Section 6(a) hearing, the Court must state in writing the

reasons for its determination as to each item of classified information.

      Third, following the Section 6(a) hearing and formal findings of

admissibility by the Court, the United States may move to substitute an

admission of relevant facts or summaries for classified information that the

Court rules is admissible. The Court must grant the motion for substitution “if

it finds that the statement or summary will provide the defendant with

substantially the same ability to make his defense as would disclosure of the

specific classified information.” 18 U.S.C. App. III § 6(c)(1).

      If the Court determines that the item of classified information at issue

is relevant and admissible and denies the government’s motion for

substitution, Section 6(e)(1) of CIPA permits the government to object to the

classified information’s disclosure. 18 U.S.C. App. III § 6(e)(1). In such cases,

the Court “shall order that the defendant not disclose or cause the disclosure

of such information.” Id. Section 6(e) then sets forth a sliding scale of remedies

that the Court may impose in such a case. Id. at § 6(e).




                                         6
    Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 7 of 10 PageID #:87




      C.    Rules Governing Introduction of Classified Information

      In order to prevent “unnecessary disclosure” of classified information,

CIPA Section 8(b) permits the Court to order admission into evidence of only a

part of a writing, recording, or photograph. Alternatively, the Court may order

into evidence the entire writing, recording, or photograph with all or part of

the classified information contained therein excised. Excision of such classified

information may not be authorized, however, if fairness requires that the

whole document, recording, or photograph be considered.

      Section 8(c) establishes a procedure for addressing the problems that

may emerge during the taking of testimony from a witness who possesses

classified information not previously found to be admissible. If a defendant

reasonably expects that a question or a line of inquiry would result in

disclosure of classified information, CIPA mandates that he or she give the

United States notice under Section 5 of the Act; Section 8(c), in effect, serves

as a supplement to the Section 6(a) procedures, addressing circumstances that

might not have been anticipated in advance of the taking of testimony. Thus,

upon objection of the United States to a defense question or line of inquiry not

covered in a Section 6(a) proceeding, the Court must take suitable action to

avoid the improper disclosure of classified information by a witness.




                                        7
      Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 8 of 10 PageID #:88




        D.    Security Procedures

        Section 9 of CIPA required the Chief Justice of the United States to

prescribe security procedures for the protection of classified information in the

custody of federal courts. On January 15, 2011, Chief Justice Roberts

promulgated revised security procedures.

        E.    Existence of Classified Material

        In this case, classified material exists as part of the investigation. The

disclosure of such material, however, would raise issues of national security.

Pursuant to Section 2 of CIPA, the United States respectfully requests that the

Court hold a pretrial conference hearing on a date convenient to the Court.

        At that pretrial conference, the government anticipates that it will be

prepared to report to the Court the universe of classified material gathered by

the government during this investigation and the government’s proposed plan

to address its discovery obligations, as well as for the filing of any motions

pursuant to CIPA Section 4.

II.     Argument

        Defendant Hardy Browner is charged with knowingly and willfully make

a materially false, fictitious, and fraudulent statement and representation to

the FBI in a matter involving international terrorism, in violation of 18 U.S.C.

§ 1001(a)(2). Due to the nature of the charges and the expected evidence, the

United States anticipates that issues relating to classified information will

                                          8
    Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 9 of 10 PageID #:89




arise in connection with this case. Accordingly, the United States respectfully

moves for a pretrial conference pursuant to Section 2 of CIPA to establish a

discovery and motion schedule relating to any classified information. Before

that conference, the government will endeavor to identify all possible classified

material and determine its potential applicability, nature and, volume.

      At the Section 2 pretrial conference, the government anticipates it will

be prepared to report to the court regarding the volume of possible classified

information that may be implicated in this case, and to provide an estimate of

the time necessary to conduct a complete review of any potentially relevant

classified information. Based on that estimate, the government will be

prepared to suggest a schedule for the completion of the review, and be

prepared to discuss discovery and the timing for the filing of motions, pursuant

to Sections 3 and 4 of CIPA. Because of the classified nature of any such

information, the government will not be able to describe the nature of the

information in open court. As such, government requests authorization to

convey the classified information ex parte and in camera, either orally at a

sealed conference or through a sealed letter. Finally, pursuant to Section 4 of

CIPA, the government will request that the Court authorize in camera, ex parte

submissions regarding classified materials that the government believes

should be subject to deletion, a process courts have consistently regarded as

proper in matters involving national security. See, e.g., United States v. Mejia,

                                        9
   Case: 1:20-cr-00299 Document #: 23 Filed: 07/13/20 Page 10 of 10 PageID #:90




448 F.3d 436, 455 (D.C. Cir. 2006); United State v. Gurolla, 333 F.3d 944, 951

(9th Cir. 2003); Pringle, 751 F.2d at 427; and United States v. Marzook, 435

F.Supp. 2d at 745.

III.   Conclusion

       For the foregoing reasons, the government respectfully requests that at

the arraignment the Court set a date for a pretrial conference pursuant to

Section 2 of CIPA.

                                     Respectfully submitted,


                                     JOHN R. LAUSCH, Jr.
                                     United States Attorney

                               By:   /s/ Barry Jonas
                                     BARRY JONAS
                                     JORDAN MATTHEWS
                                     Assistant U.S. Attorneys
                                     219 South Dearborn St., Rm. 500
                                     Chicago, Illinois 60604
                                     (312) 353-5300


Dated: July 13, 2020




                                       10
